         Case 8:21-cv-00542-GLS Document 1 Filed 03/03/21 Page 1 of 9




                    IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MARYLAND
                               (Greenbelt Division)


 EUGENIA LOVATO
 c/o 519 H Street NW
 Washington, DC 20001
 (Prince George’s County)

       Plaintiff,

 v.                                                     Civil Action No. __________________
 FRANCIS RESTAURANT AND
 CARRYOUT, LLC
 d/b/a FRANCIS RESTAURANT AND
 CARRYOUT
 3856 34th Street
 Mt. Rainier, MD 20712
 (Prince George’s County)

 MARIA F. RODRIGUEZ
 3710 41st Avenue
 Brentwood, MD 20722
 (Prince George’s County)

 MARTHA E. MAJANO
 12001 Backus Drive
 Bowie, MD 20720
 (Prince George’s County)

       Defendants.


                                     CO MPL AINT

1.    While Plaintiff worked at Defendants’ restaurant as a kitchen hand, Defendants failed to

pay her both minimum and overtime wages.
          Case 8:21-cv-00542-GLS Document 1 Filed 03/03/21 Page 2 of 9



2.     Plaintiff brings this action against Francis Restaurant and Carryout, LLC; Maria F. Rodri-

guez; and Martha E. Majano (“Defendants”) to recover damages for Defendants’ willful failure to

pay minimum and overtime wages, in violation of the Fair Labor Standards Act (“FLSA”), 29

U.S.C. § 201 et seq.; the Maryland Wage and Hour Law (“MWHL”), Md. Code, Lab. & Empl.

Art., § 3-401 et seq.; and the Maryland Wage Payment and Collection Law (“MWPCL”), Md.

Code, Lab. & Empl. Art., § 3-501 et seq.

                                      Jurisdiction and Venue

3.     Jurisdiction is proper pursuant to 28 U.S.C. § 1331 (federal question jurisdiction) and 28

U.S.C.§ 1367 (supplemental jurisdiction).

4.     Venue is proper pursuant to 28 U.S.C. § 1391(b) and Local Rule 501(4) because a majority

of the Maryland parties reside in this district and division, or because a substantial part of the

events or omissions giving rise to Plaintiff’s claims occurred in this district and division.

                                               Parties

5.     Plaintiff Eugenia Lovato is an adult resident of Prince George’s County, Maryland.

6.     Defendant Francis Restaurant and Carryout, LLC is a Maryland corporate entity. It does

business as Francis Restaurant and Carryout. Its principal place of business is located at 3856 34th

Street, Mt. Rainier, MD 20712. Its resident agent for service of process is Maria Rodriguez, 3856

34th Street, Mt. Rainier, MD 20712.

7.     Defendant Maria F. Rodriguez is an adult resident of Maryland. She resides at 3710 41st

Avenue, Brentwood, MD 20722. She is an owner and member of Defendant Francis Restaurant

and Carryout, LLC. She exercises control over the operations of Francis Restaurant and Carryout,

LLC — including its pay practices.




                                                  2
           Case 8:21-cv-00542-GLS Document 1 Filed 03/03/21 Page 3 of 9



8.      Defendant Martha E. Majano is an adult resident of Maryland. She resides at 12001 Backus

Drive, Bowie, MD 20720. She is a member of Defendant Francis Restaurant and Carryout, LLC.

She exercises control over the operations of Francis Restaurant and Carryout, LLC — including

its pay practices.

9.      Defendant Majano is the daughter of Defendant Rodriguez.

                                        Factual Allegations
10.     Defendants own and operate the restaurant Francis Restaurant and Carryout, located at

3856 34th Street, Mt. Rainier, MD 20712.

11.     Plaintiff worked at Francis Restaurant and Carryout from approximately February 2016

through approximately February 11, 2021 — with a leave of absence from approximately the end

of May 2018 through approximately February 2019.

12.     Plaintiff worked at Francis Restaurant and Carryout as a kitchen laborer.

13.     Plaintiff’s job duties at Francis Restaurant and Carryout primarily consisted of preparing

and cooking food, working the cash register, and cleaning the restaurant at the end of her shift.

14.     Prior to approximately April 6, 2020, Plaintiff typically and customarily worked between

sixty and seventy-two hours per week.

15.     Starting on approximately April 6, 2020, Plaintiff typically and customarily worked be-

tween fifty and sixty-six hours per week.

16.     Prior to Plaintiff’s leave of absence at the end of May 2018, Defendants paid her $8.00 per

hour.

17.     Starting on approximately February 11, 2019, Defendants paid Plaintiff approximately

$8.50 per hour.

18.     At all relevant times, Defendants paid Plaintiff by the hour.

19.     At all relevant times, Defendants paid Plaintiff in cash.


                                                  3
            Case 8:21-cv-00542-GLS Document 1 Filed 03/03/21 Page 4 of 9



20.      At all relevant times, Plaintiff worked more than forty hours per workweek for Defendants.

21.      At all relevant times, Defendants paid Plaintiff the same regular hourly rate across all hours

worked.

22.      At all relevant times, Defendants did not pay Plaintiff overtime wages — or one and one-

half times her regular hourly rate for hours worked in excess of forty in a workweek.

23.      In addition to not paying overtime wages, Defendants did not pay Plaintiff the applicable

Maryland and Prince George’s County minimum wages.

24.      Maryland law requires that employers pay non-exempt employees at least $9.25 per hour

from July 1, 2017 through June 30, 2018, $10.10 per hour from July 1, 2018 through December

31, 2019, $11.00 per hour from January 1, 2020 through December 31, 2020, and $11.60 per hour

from January 1, 2021 through the present. Md. Code, Lab. & Empl. Art. § 3-413.

25.      The Prince George’s County minimum wage was $11.50 per hour from October 1, 2017

through December 31, 2020, and $11.60 per hour from January 1, 2021 through the present.

26.      For Plaintiff’s work in the three years preceding the filing of this Complaint, Defendants

owe her approximately $40,050.00 in minimum and overtime wages (excluding liquidated dam-

ages).

27.      Defendant Rodriguez hired Plaintiff.

28.      Defendant Rodriguez participated in setting Plaintiff’s work schedule.

29.      Defendant Rodriguez participated in setting Plaintiff’s hourly rate.

30.      Defendant Rodriguez often personally handed Plaintiff her pay.

31.      In 2020, Defendant Majano started to take an active role in the management of Defendants’

restaurant.

32.      Defendant Majano supervised Plaintiff’s work.




                                                   4
           Case 8:21-cv-00542-GLS Document 1 Filed 03/03/21 Page 5 of 9



33.     Defendant Majano participated in setting employee schedules, including that of the Plain-

tiff.

34.     Defendant Majano often personally handed Plaintiff her pay.

35.     At all relevant times, Defendants had the power to hire and fire Plaintiff.

36.     At all relevant times, Defendants had the power to control Plaintiff’s work schedule.

37.     At all relevant times, Defendants had the power to supervise and control Plaintiff’s work.

38.     At all relevant times, Defendants had the power to set Plaintiff’s rate and manner of pay.

39.     At all relevant times, Defendants were aware that they were legally required to pay Plaintiff

one and one-half times her regular hourly rate for all hours worked in excess of forty hours in any

one workweek.

40.     At all relevant times, Defendants were aware that they were legally required to pay Plaintiff

the applicable Maryland and Prince George’s County minimum wages.

41.     At all relevant times, Defendants were aware that they were legally required to timely pay

Plaintiff all wages legally due to her.

42.     At all relevant times, the annual gross volume of Defendants’ business exceeded

$500,000.00.

43.     At all relevant times, Defendants had two or more employees who handled goods and/or

materials that had traveled in or been produced in interstate commerce.

44.     At all relevant times, Defendants had employees who handled food products, such as

chicken, beef, or vegetables, that had been raised or grown outside of Maryland.

                                            COUNT I
               FAILURE TO PAY OVERTIME WAGES UNDER THE FLSA
45.     Plaintiff incorporates the foregoing paragraphs as if fully restated herein.




                                                  5
            Case 8:21-cv-00542-GLS Document 1 Filed 03/03/21 Page 6 of 9



46.     Each defendant was an “employer” of Plaintiff within the meaning of the FLSA. 29 U.S.C.

§ 203(d).

47.     The FLSA requires employers to pay non-exempt employees one and one-half times their

regular hourly rate for hours worked in excess of forty hours in any one workweek. 29 U.S.C.

§ 207(a)(1). This regular hourly rate cannot be lower than the applicable state or local minimum

wage. 29 C.F.R. § 778.5.

48.     Defendants violated the FLSA by knowingly failing to pay Plaintiff at least one and one-

half times her regular hourly rate for hours worked in excess of forty hours in any one workweek.

49.     Defendants’ violations of the FLSA were willful.

50.     For Defendants’ violations of the FLSA, Defendants are liable to Plaintiff for unpaid over-

time wages, an equal amount as liquidated damages, reasonable attorney’s fees and expenses, court

costs, interest, and any other relief deemed appropriate by the Court.

                                            COUNT II
      FAILURE TO PAY MINIMUM AND OVERTIME WAGES UNDER THE MWHL
51.     Plaintiff incorporates the foregoing paragraphs as if set forth in their entirety herein.

52.     Each defendant was an “employer” of Plaintiff within the meaning of the MWHL. Md.

Code, Lab. & Empl. Art. § 3-401(b).

53.     The MWHL requires that employers pay non-exempt employees at least $9.25 per hour

from July 1, 2017 through June 30, 2018, $10.10 per hour from July 1, 2018 through December

31, 2019, $11.00 per hour from January 1, 2020 through December 31, 2020, and $11.60 per hour

from January 1, 2021 through the present. Md. Code, Lab. & Empl. Art. § 3-413.

54.     The MWHL requires employers to pay non-exempt employees one and one-half times their

regular hourly rate for hours worked in excess of forty hours in any one workweek. Md. Code,

Lab. & Empl. Art., §§ 3-415 and 3-420.


                                                   6
           Case 8:21-cv-00542-GLS Document 1 Filed 03/03/21 Page 7 of 9



55.     Defendants violated the MWHL by knowingly failing to pay the required minimum wage

to Plaintiff.

56.     Defendants violated the MWHL by knowingly failing to pay Plaintiff one and one-half

times her regular hourly rate for hours worked in excess of forty hours in any one workweek.

57.     Defendants’ violations of the MWHL were willful.

58.     For Defendants’ violations of the MWHL, Defendants are liable to Plaintiff for unpaid

minimum and overtime wages, an equal amount as liquidated damages, reasonable attorney’s fees

and expenses, court costs, interest, and any other relief deemed appropriate by the Court.

                                            COUNT III
                     FAILURE TO PAY WAGES UNDER THE MWPCL

59.     Plaintiff incorporates the foregoing paragraphs as if set forth in their entirety herein.

60.     Each defendant was an “employer” of Plaintiff within the meaning of the MWPCL. Md.

Code, Lab. & Empl. Art. § 3-501(b).

61.     The MWPCL requires employers to pay an employee whose employment terminates all

wages due on or before the day on which the employee would have been paid the wages if the

employment had not been terminated. Md. Code, Lab. & Empl. Art. § 3-505(a).

62.     The MWPCL requires employers to timely pay an employee on regular pay days. Md.

Code, Lab. & Empl. Art. § 3-502.

63.     The “wages” required to be timely paid by the MWPCL include minimum and overtime

wages. Md. Code, Lab. & Empl. Art. § 3-501(c)(2). See also Peters v. Early Healthcare Giver,

Inc., 439 Md. 646, 654 (Md. 2014).

64.     Defendants violated the MWPCL by knowingly failing to timely pay to Plaintiff all wages

due, including minimum and overtime wages.

65.     Defendants’ violations MWPCL were willful.


                                                   7
            Case 8:21-cv-00542-GLS Document 1 Filed 03/03/21 Page 8 of 9



66.    For Defendants’ violations of the MWPCL, Defendants are liable to Plaintiff for three

times the amount of unpaid wages, reasonable attorney’s fees and expenses, court costs, interest,

and any other relief deemed appropriate by the Court.

                                    PRAYER FOR RELIEF

       WHEREFORE, Plaintiff respectfully requests that this Court enter judgment against De-

fendants, jointly and severally, on all counts, in the current total amount of $122,847.00, and grant

the following relief:

       a.        Award Plaintiff $120,150.00, consisting of the following overlapping elements:

               i.       unpaid overtime wages, plus an equal amount as liquidated damages, pur-

                        suant to the FLSA, 29 U.S.C. § 216;

             ii.        unpaid Maryland minimum and overtime wages, plus an equal amount as

                        liquidated damages, pursuant to the MWHL, Md. Code, Lab. & Empl. Art.,

                        § 3-427;

             iii.       three times the amount of unpaid minimum and overtime wages, pursuant

                        to the MWPCL, Md. Code, Lab. & Empl. Art., 3-507.2;

       b.        Award Plaintiff pre-judgment and post-judgment interest as permitted by law;

       c.        Award Plaintiff reasonable attorney’s fees and expenses at (as of this date, approx-

       imately $2,295.00);

       d.        Award Plaintiff court costs (currently, $402.00); and

       e.        Award any additional relief the Court deems just.




                                                  8
        Case 8:21-cv-00542-GLS Document 1 Filed 03/03/21 Page 9 of 9



Date: March 3, 2021                      Respectfully submitted,

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                                     9
